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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


       UNITED STATES, et al.,

                                      Plaintiffs,

              vs.                                               No. 1:23-cv-00108-LMB-JFA

       GOOGLE LLC,

                                      Defendant.



                               GOOGLE LLC’S NOTICE OF FILING

             Defendant Google LLC (“Google”) files the attached UNREDACTED VERSION of

      its brief in opposition to Plaintiff’s motion to exclude the expert opinions of Itamar Simonson

      and related opinions of Mark Israel, as ordered by the Court (Docket no. 936).
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      Dated: Aug. 1, 2024.                 Respectfully submitted,

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